






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS








EX PARTE JOSE MANUEL
RODRIGUEZ-GARCIA.
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No. 08-10-00230-CR



Appeal from


County Court at Law No. 4 


of El Paso County, Texas 


(TC# 20070C13139 ) 


O P I N I O N


	Jose Manuel Rodriguez-Garcia ("Rodriguez"), a citizen of Mexico, pleaded guilty to the
Class B misdemeanor offense of possessing two ounces or less of marihuana.  See Tex. Health &amp;
Safety Code Ann. § 481.121 (West 2010).  The trial court assessed his punishment at one day in
the county jail.  He did not appeal.

	Rodriguez later filed an application for writ of habeas corpus in the trial court, asking that
his guilty plea be set aside as invalid.  See Tex. Code Crim. Proc. Ann. art. 11.05 (West 2005). 
In his application, Rodriguez alleged that, at the time he pleaded guilty, he believed that he was a
citizen of the United States and not subject to deportation, and that if he had known that he was not
a citizen he would not have pleaded guilty.  He alleged further that, as a direct result of his guilty
plea, the federal government had initiated deportation proceedings against him.  See 8 U.S.C.A. §
1227(a)(2)(B)(i) (West 2005) (regarding deportable drug offenses).

	The trial court received evidence on Rodriguez's habeas claim and, thereafter, granted the
relief requested.  The State appealed.  See Tex. Code Crim. Proc. Ann. art. 44.01(a)(3) (West Supp.
2011).

	Rodriguez's appellate counsel has now provided this Court with appropriate official
documentation, a death certificate from the Mexican State of Chihuahua, to the effect that Rodriguez
died in Juarez sometime after the State perfected its appeal.  The State does not contest the fact that
Rodriguez has died.  Accordingly, we dismiss the State's appeal for lack of jurisdiction.  See State
v. McCaffrey, 76 S.W.3d 392, 393 (Tex.Crim.App. 2002).


						GUADALUPE RIVERA, Justice

December 21, 2011


Before McClure, C.J., Rivera, J., and Antcliff, J.


(Do Not Publish)


